Case 1:21-cv-22441-RNS Document 68 Entered on FLSD Docket 10/12/2021 Page 1 of 6




                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA




                                                          Civil Action No. 1:21-cv-22441-RNS
   DONALD J. TRUMP, the Forty-Fifth President
   of the United States, LINDA CUADROS,
   AMERICAN CONSERVATIVE UNION,
   RAFAEL BARBOZA, DOMINICK LATELLA,
   WAYNE ALLEN ROOT AND NAOMI WOLF,
   INDIVIDUALLY AND ON BEHALF OF
   THOSE SIMILARLY SITUATED,

                    Plaintiffs,

               v.

   TWITTER, INC. and JACK DORSEY,

                    Defendants.




          PLAINTIFFS’ MOTION FOR LEAVE TO FILE A SUR-REPLY IN
     FURTHER OPPOSITION TO DEFENDANTS’ MOTION TO TRANSFER [D.E. 41]
         Due to exceptional circumstances, and for the good cause shown herein, Plaintiffs hereby

  respectfully move pursuant to Local Rule 7.1(c) for leave to file a sur-reply in further opposition

  to Defendants’ motion to transfer this case to the Northern District of California [D.E. 41].

                                          Factual Statement

         This action was brought by Plaintiff Donald J. Trump and other victims of Twitter’s

  arbitrary and politically motivated censorship, alleging that this censorship violates both the First




                                                   1
Case 1:21-cv-22441-RNS Document 68 Entered on FLSD Docket 10/12/2021 Page 2 of 6




  Amendment and Florida law.

         On September 1, 2021, Defendants moved to transfer this case to the Northern District of

  California [D.E. 41]. On September 22, 2021, Plaintiffs submitted a memorandum of law opposing

  such transfer (“Opposition Memorandum”). On October 6, 2021, Trump v. YouTube, No. 1:21-cv-

  22445-KMM (S.D. Fla. Oct. 6, 2021) was decided, granting defendants’ motion to transfer in a

  case brought by President Trump and other plaintiffs challenging censorship by YouTube.

         On October 7, 2021, Defendants filed a reply memorandum (“Reply”) in further support

  of their transfer motion. In their Reply, Defendants repeatedly cite, extensively rely on, and ask

  the Court to follow Trump v. YouTube, which Defendants describe as a “nearly identical” case.

  Plaintiffs had no opportunity to cite, address, or respond to Trump v. YouTube in their Opposition

  Memorandum for the simple reason that the decision had not yet been handed down.

         Accordingly, Plaintiffs hereby respectfully request permission to file a sur-reply.

                                        Memorandum of Law

         While a District Court’s “decision to permit the filing of a sur-reply is purely

  discretionary,” a sur-reply “should generally” be “allowed when ‘a valid reason for such additional

  briefing exists, such as where the movant raises new arguments in its reply brief.’” First Specialty

  Ins. Corp. v. 633 Partners, Ltd., 300 Fed. Appx. 777, 788 (11th Cir. 2008) (quoting Fedrick v.

  Mercedes-Benz USA, LLC, 366 F. Supp. 2d 1190, 1197 (N.D. Ga. 2005)); Mile High Healthcare

  Analytics, LLC v. Medical Care Consortium Inc., No. 18-CV-22374, 2020 U.S. Dist. LEXIS

  135426 at * 29 n.8 (S.D. Fla. July 29, 2020) (granting leave to file sur-reply where a “valid reason”

  existed).

         Here, a “valid reason” for “additional briefing” plainly exists because Defendants have in

  their Reply raised, cited, extensively relied on, made numerous arguments on the basis of, and



                                                   2
Case 1:21-cv-22441-RNS Document 68 Entered on FLSD Docket 10/12/2021 Page 3 of 6




  asked this Court to follow a decision—called by Defendants a “nearly identical” case—that was

  not in existence at the time Plaintiffs filed their Opposition. See, e.g., Smagin v. Yegiazaryan, No.

  14-cv-09764-RGK, 2020 U.S. Dist. LEXIS 60661 at * 1 (C.D. Cal. Apr. 1, 2020) (“Leave to file

  a Sur-Reply should be granted to allow the submission of ‘new authorities or evidence that were

  unavailable’ at the time of a prior filing.”) (quoting Geringer v. Strong, No. 2:15-cv-08696-

  CAS(GJSx), 2016 U.S. Dist. LEXIS 61944, at *1 n.1 (C.D. Cal. May 9, 2016)). Court routinely

  permit sur-replies where, as here, defendants have introduced new material or cited new cases in

  their Reply papers. See, e.g., Gladden v. P&G Distrib., LLC, No. 1:19-CV-2938-CAP-JSA, 2021

  U.S. Dist. LEXIS 118475 at * 12 (N.D. Ga. May 4, 2021) (finding “good cause” to file sur-reply

  where defendant had submitted new declaration with Reply memorandum); Roe v. Cypress-

  Fairbanks Indep. Sch. Dist., No. H-18-2850, 2020 U.S. Dist. LEXIS 217596 at * 13 (N.D. Tex.

  Nov. 20, 2020) (granting leave to file sur-reply where defendant’s reply “cites some cases that

  were not cited” in defendant’s opening memorandum); Watt v. Brown Cnty., 210 F. Supp. 3d 1078,

  1082 (E.D. Wis. 2016) (“Plaintiff has met her burden for leave to file a surreply because

  Defendant’s reply brief cited to evidence that was not even in existence at the time Defendant filed

  its motion”).

          Further, Plaintiffs respectfully suggest that Trump v. YouTube will unavoidably be a case

  of considerable interest to this Court in its ruling on Defendants’ transfer motion, and that Plaintiffs

  therefore should be given an opportunity to respond to it, both to explain how the judge erred in

  that case and to explain how that case differs from this one. This is an independent “valid basis”

  for granting Plaintiffs leave to file a sur-reply. Because a district court’s decision to grant or deny

  a motion to transfer is all but unreviewable, this Court’s ruling on the instant motion will determine

  the future course of this lawsuit, and a sur-reply is Plaintiffs’ only opportunity to distinguish and



                                                     3
Case 1:21-cv-22441-RNS Document 68 Entered on FLSD Docket 10/12/2021 Page 4 of 6




  respond to the faulty, just-announced decision in an important case that Defendants cite as

  precedent.

         For the foregoing reasons, Plaintiffs respectfully request permission to file a Sur-Reply of

  no more than ten (10) pages within seven (7) days of the issuance of the Court’s order granting

  this motion.


  Respectfully submitted,

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                                                  4
Case 1:21-cv-22441-RNS Document 68 Entered on FLSD Docket 10/12/2021 Page 5 of 6




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                                            5
Case 1:21-cv-22441-RNS Document 68 Entered on FLSD Docket 10/12/2021 Page 6 of 6




                            LOCAL RULE 7.1(a)(3) CERTIFICATION
         I hereby certify that Plaintiffs’ counsel has conferred with Defendants’ counsel in a good

  faith effort to obtain Defendants’ consent to Plaintiffs filing a sur-reply, but they have been unable

  to do so. Defendants’ counsel does not consent Plaintiff’s request for leave to file a sur-reply as

  requested.

                                                 By:    Matthew L. Baldwin
                                                        Fla. Bar. No.: 27463



                                 CERTIFICATE OF SERVICE
         I hereby certify that on October 12, 2021, a true and correct copy of the foregoing was

  electronically filed with the Clerk of the Court using CM/ECF and electronically provided to all

  Counsel of Record registered for service of same.



                                                 By:    /s/ Matthew Lee Baldwin
                                                        Fla. Bar No.: 27463
